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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

                                                   )
 UNITED STATES OF AMERICA,                         )
                                                   )
                                                   )
                        v.                         ) Case No. 1:21-cr-175
                                                   )
 ETHAN NORDEAN, et al.,                            ) Judge Timothy J. Kelly
                                                   )
        Defendants.                                )
                                                   )

 DEFENDANT NORDEAN’S MOTION TO RECEIVE BAIL HEARING TRANSCRIPT

       Defendant Nordean moves the Court for permission to receive a transcript of the sealed

portion of the bail hearing on September 13. Nordean submitted yesterday an e-voucher for the

transcript and informed the court reporter. The reporter advised counsel that because a portion of

the hearing was sealed, Nordean would require a court order, according to instructions the

reporter received from the Court.

       Nordean’s counsel is a party to the protective order in this matter. ECF No. 103.

Counsel has received from the government the underlying sensitive materials that prompted the

sealed portion of the hearing. Accordingly, he requests permission to receive the sealed portion

of the September 13 hearing transcript, acknowledging that portion is subject to the protective

order to the same extent as the underlying sensitive materials.

Dated: September 14, 2021                     Respectfully submitted,

                                              /s/ David B. Smith
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                                     Certificate of Service

       I hereby certify that on the 14th day of September, 2021, I filed the foregoing motion with

the Clerk of Court using the CM/ECF system, which will send a notification of such filing (NEF)

to the following CM/ECF user(s):

              Jim Nelson
              Assistant United States Attorney
              555 4th Street, N.W., Room 4408
              Washington, D.C. 20530
              (202) 252-6986

       And I hereby certify that I have mailed the document by United States mail, first class

postage prepaid, to the following non-CM/ECF participant(s), addressed as follows: [none].


                                                    /s/ David B. Smith
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                                                    Counsel to Ethan Nordean




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